Case 1:17-cv-20799-RNS Document 16 Entered on FLSD Docket 01/12/2018 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

   SERGIO ESPINOSA

          Plaintiff,
   v.                                                CASE NO.: 1:17-cv-20799-RNS

   BARCLAYS BANK DELAWARE,

          Defendant.
                                                /

                             NOTICE OF PENDING SETTLEMENT
         PLAINTIFF, SERGIO ESPINOSA, by and through his undersigned counsel, hereby

  submits this Notice of Pending Settlement and states that Plaintiff, SERGIO ESPINOSA, and

  Defendant, BARCLAYS BANK DELAWARE, have reached a settlement with regard to this case

  and are presently drafting, finalizing, and executing the settlement and dismissal documents. Upon

  execution of same, the parties will file the appropriate dismissal documents with the Court.

                                  CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that, on this 12th day of January, 2018, a true and correct copy of
  the foregoing was filed with the Clerk of the Court and served on the parties of record using the
  CM/ECF system.

                                       Respectfully submitted,
                                               /s/Heather H. Jones
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